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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA            )
                                    )
      vs.                           )                      Crim. No. 1:21-cr-00159 (ABJ)
                                    )
CLEVELAND GROVER                    )
MEREDITH, JR.                       )
                                    )
            Defendant               )
____________________________________)

               DEFENDANT’S MOTION FOR UNREDACTED TRANSCRIPT

        Defendant Cleveland Grover Meredith, Jr., by and through undersigned counsel, hereby

moves the Court to be provided an unredacted copy of the transcript for the detention hearing held on March 26,

2021.

                                                           Respectfully submitted,

                                                           KIYONAGA & SOLTIS, P.C.

                                                           /s/ Paul Kiyonaga
                                                           _________________________
                                                           Paul Y. Kiyonaga
                                                           D.C. Bar 428624
                                                           Debra Soltis
                                                           D.C. Bar 435715
                                                           Marcus Massey
                                                           D.C. Bar 1012426
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                                                           pkiyonaga@kiyosol.com
April 21, 2021                                             Counsel for Defendant
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                               CERTIFICATE OF SERVICE
       I hereby certify that on this 21st day of April, 2021, a true and correct copy of the
foregoing Defendant’s Motion for Unredacted Transcript was filed via the Electronic Case Filing
System with consequent service on all parties of record.

                                                          /s/ Paul Y. Kiyonaga
                                                          ________________________
                                                          Paul Y. Kiyonaga
